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                                          U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                   Jacob K. Javits Federal Building
                                                   26 Federal Plaza
                                                   New York, New York 10278


                                                    January 19, 2024

BY ECF

Honorable Lewis A. Kaplan
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

       Re:    United States v. Samuel Bankman-Fried, 22 Cr. 673 (LAK)

Dear Judge Kaplan:

       Please find enclosed for the Court’s consideration a proposed protective order, which
would extend the provisions of the existing protective order to the defendant’s new counsel, Marc
Mukasey and Torrey Young.

                                            Respectfully submitted,

                                            DAMIAN WILLIAMS
                                            United States Attorney

                                         by: /s/   Nicolas Roos
                                            Danielle R. Sassoon
                                            Samuel Raymond
                                            Thane Rehn
                                            Danielle Kudla
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Cc:    Defense Counsel (by ECF)
